Case 1:15-cv-00701-JWF Document 60-12 Filed 08/30/18 Page 1 of 3

INVOICENO. |PAGE _
28016768

= INVOICE DATE
11/9/2012

E MS L An alyt i cal 5 l n Cc . EMSL Analytical, Inc. Federal Tax ID XX-XXXXXXX

200 Route 130 North, Cinnaminson, NJ 08077
(800) 220-3675

BILL REPORT
TO TO 4

Attn: Douglas Horn Attn: Douglas Horn

195 Parker Road

195 Parker Road Lockwood, NY 14859

Lockwood, NY 14859 US

US
Su PVA le Te “BILLING FREQUENCY =| _—CUST.NO.

pfrasca US MAIL Cash on Delivery With Report MISC-ACCT

_ DATE | - ORDERNO.- | GIY | TEST GODE = | = TEST DESCRIPTION UNIT UNIT PRICE oo AMOUNT
10/29/2012| 281201415 1 | 1H-Special Project Analysis as described in order. EA 180.00 180.00

1 Week
Project: Dixie X THC

P.O: CC auth 011013

[SUBTOTAL | ___ 180.00
INVOICE
oT $180.00

Please review your invoice promptly. We will gladly correct any errors within 30
days of the invoice date. After that, we deem the invoice to be correct and reserve
the right not to issue credits, in whole or part. A 1.5% finance charge will be added
to invoices over 30 days.

Billing Inquiries - please call 1-800-220-3675

Please detach and return with payment

11/9/2012 CUST# MISC-ACCT INV# 28016768 $180.00
DEPT: 28

EMSL ANALYTICAL, INC.

200 Route 130 North

Cinnaminson, NU 08077

Please
Remit to:

Billing Inquiries - please cal! 1-800-220-3675 Payment in US Funds Only.

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EMSL Analytical, Inc.
200 Route 130 North, Cinnaminson, NJ 08077

Order ID: 281201415

Attn: Douglas Horn Customer ID: MISC-ACCT
195 Parker Road Customer PO:
Lockwood, NY 14859 Date Received: 10/29/12
Phone: (607) 343-1010 EMSL Order: 281201415
' Project: Dixie X THC EMSL Project ID:
Report Date: 11/5/12 Date Analyzed: 10/3 1-1 1/2/12

Analysis for THC content in bulk sample by LC/MS/MS

Sample ID Identification Reporting Limit Sample Amount
(ug/g) (ug/g)
281201415-0001 1 1.0 170

Notes:

1. Sample was received in acceptable condition unless otherwise noted.
2. This result relates only to the sample tested.

3. Sample is not blank corrected, unless otherwise noted.

AN/SV

Analyst Scott VanEtten CIH- Lab Manager
Or other approved signatory

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EMSL ANALYTICAL, INC.

LABORATORY» PRODUCTS «TRAINING

AS) ab 4

Chain of Custody
EMSL Order Number (Lab Use Only):

Ay

Report To Contact

Name:

Bill To Company: DOUG-LAS Le mA!

Sampled By (Signature):

Company Name: Thueles

dent

Attention To:

Deus [AS

Her

Number of Samples in Shipment:

Address 1: [GS Anker RE Lckwod NY j4#859

Address 1: /7S PARKER pd, LockwoeD

Date of Shipment:

Address 2: Address 2: MSsq U.S. State where Samples Collected:
Phone :[ eT" 3 543 ™ (6 (o Fax: Phone: eT SRT 4 42 | Fax: Purchase Order:
Email Results To: ame Horw65Q) Yorttoo. co) Project Name: _)> Me x
N
Turnaround Time — Please Check: Please Note Standard TAT is 2 Week. Media Type:
2 Week 1 Week 4 Day 3 Day 2 Day 1 Day Other (Call Lab) | Manufacturer/Part #:
Cl i [J C El CI [J Lot #:
. Sample ‘

Sample ID Media Analyte / Method Volume Date/Time Location Comments

I THE

Note: Most MOR and OSHA methods require field blanks. It is the IH field sampler’s responsibility to submit the proper number of field blanks and duplicates.

Releasetl By if Date Received By Date
[pawl Updo SHoultit Mak & S0d/4a — [io/9G1/2
yt
Comments:

Test YOR THC $10 Flere call H@ CReDi card

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CO7T5S9 4421 Hone

